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                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE WESTERN DISTRICT OF TEXAS
                                    AUSTIN DIVISION

KEVIN CLARKE, TREVOR BOECKMANN,                 §         1
HARRY CRANE, CORWIN SMIDT,                      §
PREDICT IT, INC., ARISTOTLE                     §
INTERNATIONAL, INC., MICHAEL                    §
BEELER, MARK BORGHI, RICHARD                    §
HANANIA, JAMES D. MILLER, JOSIAH                §             No. 1:22-CV-00909-LY
NEELEY, GRANT SCHNEIDER, and WES                §
SHEPHERD                                        §             The Honorable Lee Yeakel
                                                §
       Plaintiffs,                              §
                                                §
v.                                              §
                                                §
COMMODITY FUTURES TRADING                       §
COMMISSION,                                     §
                                                §
       Defendant.                               §
                                                §
                                                §
                                                §
                                                §
                                                §
                                                §


                              PLAINTIFFS’ NOTICE OF APPEAL

       PLEASE TAKE NOTICE that Plaintiffs, by counsel, hereby appeal to the United States

Court of Appeals for the Fifth Circuit from the Court’s constructive denial of Plaintiffs’ Motion

for Preliminary Injunction [ECF No. 12] filed on September 30, 2022, including its orders giving

priority to and referring certain other motions to the Magistrate judge for decision. ECF Nos. 14,

22.

       A motion for preliminary injunction is constructively denied for the purposes of 28 U.S.C.

§ 1292(a)(1) “when a court declines to make a formal ruling on a motion for a preliminary

injunction, but its action has the effect of denying the requested relief.” 11A Wright & Miller,

Federal Practice and Procedure § 2962 (3d ed.); see McCoy v. La. State Bd. of Ed., 332 F.2d 915,
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916–17 (5th Cir. 1964) (taking action that would delay consideration of preliminary injunction

regarding school session until after that session had “the practical effect” of denying the

injunction); U.S. v. Lynd, 301 F.2d 818, 822 (5th Cir. 1962) (holding that declining to rule on

motion for temporary injunction was “in all respects a ‘refusal’” sufficient for interlocutory

appeal); Mt. Graham Red Squirrel v. Madigan, 954 F.2d 1441, 1449–50 (9th Cir. 1992) (holding

that the district court’s delaying a hearing on a motion for preliminary injunction to stop

construction of an astrophysical complex until after an access road had been constructed

“effectively denied the motion” and gave the Court jurisdiction to hear the appeal); Cedar Coal

Co. v. United Mine Workers of Am., 560 F.2d 1153, 1161 (4th Cir. 1977) (holding that indefinite

continuance of hearing on injunction “amounted to the refusing of an injunction and [wa]s

appealable as such”); see also Maryville Baptist Church, Inc. v. Beshear, 957 F.3d 610, 612 (6th

Cir. 2020) (holding that district court’s denial of a temporary restraining order also effectively

denied a motion for preliminary injunction because the district court showed no indication of ruling

on that motion expeditiously and the case would become moot in three weeks).

       The Court has effectively denied Plaintiffs’ Motion for Preliminary Injunction. Plaintiffs

filed the Motion on September 30. ECF No. 12. It asks the Court to enjoin enforcement of a

Commission mandate to end trading of and liquidate all PredictIt Market contracts by 11:59pm on

February 15, 2023, pending resolution of the merits. Id. at 2. The Motion was fully briefed over

two months ago on October 20. See ECF No. 18. On November 18, Plaintiffs moved to expedite

consideration of the motion so that it would be decided by Christmas, in light of detailed and

accelerating irreparable harms in December. ECF No. 23, at 2–4. The motion informed the Court

that, in the absence of a process to decide the motion by Christmas, it would regard the motion as

effectively denied. Id. at 6. As of this date, the Court has neither scheduled a hearing on nor taken
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any action on the request for a preliminary injunction. Under Fifth Circuit precedent, the Court’s

failure to act has effectively denied the motion for preliminary injunction. Plaintiffs now notice

this appeal of that effective denial.



Dated: December 23, 2022


                                                   Respectfully submitted,

                                                    By: /s/ Michael J. Edney
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                                                    International, Inc., Michael Beeler,
                                                    Mark Borghi, Richard Hanania, James
                                                    D. Miller, Josiah Neeley, Grant
                                                    Schneider, and Wes Shepherd
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                               CERTIFICATE OF SERVICE

       On December 23, 2022, I filed this document with the Clerk of the Court using the CM/ECF
system, which will send a notification of such filing to counsel of record for all parties.

                                                   /s/ Michael J. Edney
                                                   Michael J. Edney
